                           IN THE UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF OHIO
                                     CLEVELAND DIVISION

 IN RE:                                            Case No. 20-14590

           JAMES EDWARD JOGAN                      Judge: Jessica E. Price Smith
           CYNTHIA A. JOGAN
                                                   Chapter 13 Proceedings
                         Debtors

                                     NOTICE OF SUBSTITUTION
          Now come Debtors, James and Cynthia Jogan, and hereby give notice that Jann C.

Washington, Esq., of Counsel with Cozmyk Law Offices, is being substituted as counsel of record

in place of William J. Balena, Esq. The substitution is made with the client’s knowledge and

consent. All future and further pleadings, notices and correspondence in this matter shall be

served upon the substituted counsel at the address and/or email address listed below.


                                                         Respectfully submitted,


                                                         /s/ Jann C. Washington
                                                         Jann C. Washington (0087239)
                                                         Of Counsel, Cozmyk Law Offices
                                                         6100 Oak Tree Blvd., Ste. 200
                                                         Independence, OH 44131
                                                         (440) 552-5492 F: (440) 571-0522
                                                         jwashington@cozmyklaw.com

                                      CERTIFICATE OF SERVICE

       I certify that on November 14, 2022, a true and correct copy of the foregoing Notice of
Substitution was served:

          Via the Court’s ECS system on the following:

          Lauren Helbling, Chapter 13 Trustee, at ch13trustee@ch13cleve.com
          William J. Balena, Esq., former counsel for debtor, at docket@ohbksource.com




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And by regular US Mail postage prepaid upon:

       James & Edward Jogan
       7915 Liberty Ave
       Parma, OH 44129

                                                 /s/ Jann C. Washington
                                                 Jann C. Washington (0087239)
                                                 Of Counsel, Cozmyk Law Offices
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